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IN THE UNITED S'I‘ATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEN'NESSEE 05 JUH 27 PH h
WESTERN DIVISION

D.C.

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CONNIE L- FOSTER’ V'J.D. (.}!" ii~l, \\¢'=.-.'..lvn'i &O

Plaintiff,

vs. No. 04-2650 MaV

JO AN'NE B. BARNHART,
Acting Commissioner of the
Social Security Administration,

Defendant.

 

ORDER GRANTING AWAR.D OF ATTORNEY FEES A.N'D EXPENSES

 

The plaintiff, Connie L. Foster has moved for an award of
attorney fees as a prevailing party under the Equal Access to
Justice Act (EAJA), 28 U.S.C. § 2412, to cover the cost of pursuing
judicial review of a decision by the Commissioner of the Social
Security .Administration. denying' her clain\ for Social Security
disability benefits. Foster seeks fees in the amount of $4938.53.
The defendant has not filed a response to the motion, and the time
for responding has expired. The motion has been referred to the
United States Magistrate Judge for a determination.

It appears to the court that Foster satisfies the criteria for
an award of fees under the EAJA, that the hourly rates used to
calculate the fees are appropriate under the EAJA, and the expenses

incurred were reasonable and necessary. Accordingly, Foster is

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wlth RuIe 58 and/or 79(a) FF\CP on '

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awarded fees in the amount of $4,938.53. The Commissioner is
directed to certify the amount for payment.

IT IS SO ORDERED this 27th day of June, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTR.ATE JU'DGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:04-CV-02650 Was distributed by faX, mail, or direct printing on
June 28, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

